                          Case 3:23-cv-03417-VC Document 137 Filed 09/10/24 Page 1 of 7



                    1   COOLEY LLP
                        BOBBY GHAJAR (198719)
                    2   (bghajar@cooley.com)
                        COLETTE GHAZARIAN (322235)
                    3   (cghazarian@cooley.com)
                        1333 2nd Street, Suite 400
                    4   Santa Monica, California 90401
                        Telephone:    (310) 883-6400
                    5
                        MARK WEINSTEIN (193043)
                    6   (mweinstein@cooley.com)
                        KATHLEEN HARTNETT (314267)
                    7   (khartnett@cooley.com)
                        JUDD LAUTER (290945)
                    8   (jlauter@cooley.com)
                        ELIZABETH L. STAMESHKIN (260865)
                    9   (lstameshkin@cooley.com)
                        3175 Hanover Street
                   10   Palo Alto, CA 94304-1130
                        Telephone:    (650) 843-5000
                   11   CLEARY GOTTLIEB STEEN & HAMILTON LLP
                        ANGELA L. DUNNING (212047)
                   12   (adunning@cgsh.com)
                        1841 Page Mill Road, Suite 250
                   13   Palo Alto, CA 94304
                        Telephone: (650) 815-4131
                   14
                        Counsel for Defendant Meta Platforms, Inc.
                   15

                   16                              UNITED STATES DISTRICT COURT

                   17                           NORTHERN DISTRICT OF CALIFORNIA

                   18
                        RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC
                   19
                           Individual and Representative Plaintiffs,   DEFENDANT META PLATFORMS, INC.’S
                   20                                                  OPPOSITION TO PLAINTIFFS’ MOTION TO
                               v.                                      ENLARGE DISCOVERY CUT-OFF (MODIFY
                   21                                                  ALL CASE DEADLINES) (ECF 129)
                        META PLATFORMS, INC., a Delaware
                   22   corporation;

                   23                                   Defendant.     Discovery Cut-Off: September 30, 2024
                                                                       Date Action Filed: July 7, 2023
                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                                     META’S OPP. TO MOT. TO EXTEND
                                                                                                  3:23-CV-03417-VC
                           Case 3:23-cv-03417-VC Document 137 Filed 09/10/24 Page 2 of 7



                    1           Plaintiffs’ eleventh-hour motion (“Motion”) to extend all case deadlines by 97 days (Dkt.
                    2   129) lacks good cause and should be denied. As detailed herein, Meta has cooperated fully and
                    3   complied with all deadlines, contrary to Plaintiffs’ unfounded attacks. In contrast, Plaintiffs have
                    4   failed to diligently prosecute this case at every turn. Moreover, according to a proposal sent to
                    5   Meta today, which Meta opposes, Plaintiffs intend to seek a massive expansion of the depositions
                    6   available to them—from the default of 10 depositions to 35 depositions or 180 deposition hours—
                    7   without any justification and despite having taken zero depositions to date. Plaintiffs’ effort to
                    8   massively expand discovery through extending the case schedule, all in the face of their lack of
                    9   diligence (and lack of any need), should be rejected.
                   10           At the motion to dismiss hearing ten months ago, the Court opened discovery on what is
                   11   now Plaintiffs’ lone remaining claim. Dkt. 52 (11/9/23 Tr. at 49:3-50:2.); see Dkt. 43 (“[d]iscovery
                   12   can go forward on the claim that Meta did not move to dismiss”). The Court then set the case
                   13   schedule over seven months ago, including a fact discovery cutoff of September 30, 2024. Dkt. 87
                   14   (1/23/24 Order). Yet Plaintiffs have failed to diligently pursue discovery: they have taken zero
                   15   depositions (with only two currently noticed); failed to timely identify their ESI custodians; failed
                   16   to meet the substantial completion deadline for production for virtually all Plaintiffs; failed to
                   17   produce privilege logs for nine of eleven Plaintiffs; and failed to plan for entirely foreseeable
                   18   international discovery and translation services. In contrast, Meta timely identified ESI custodians;
                   19   met the substantial completion deadline; timely produced a privilege log; and timely identified
                   20   deponents (which depositions it will complete by September 30 if Plaintiffs simply cooperate).
                   21           Meta also has promptly addressed all issues raised by Plaintiffs during discovery. In stark
                   22   contrast, Plaintiffs have engaged in deliberate delay tactics to obstruct Meta’s efforts to complete
                   23   discovery, such as refusing to provide deposition dates within the discovery period for Plaintiffs’
                   24   witnesses (as Judge Hixson has now ordered them to do so); refusing to identify Meta witnesses to
                   25   depose (which they still are failing to do); refusing to provide a 30(b)(6) notice; and failing to timely
                   26   provide their sections of discovery briefing, requiring Meta to seek Court intervention. Moreover,
                   27   as noted, Plaintiffs are now burdening Meta and the Court with a forthcoming motion to massively
                   28   expand the depositions available to them, to include 35 depositions or 180 deposition hours (plus
COOLEY LLP
ATTORNEYS AT LAW
                                                                                                META’S OPP. TO MOT. TO EXTEND
                                                                           1                                 3:23-CV-03417-VC
                            Case 3:23-cv-03417-VC Document 137 Filed 09/10/24 Page 3 of 7



                    1   a Rule 30(b)(6) deposition and limitless third-party depositions), yet have failed to take even one
                    2   deposition in this case.1 Plaintiffs’ recent meritless attacks on Meta’s conduct seek to create the
                    3   appearance of a need for an extension, when, in fact, Plaintiffs’ crisis is wholly of their own making.
                    4            The Court should deny Plaintiffs’ Motion. To the extent the Court is inclined to extend any
                    5   deadlines, it should at most allow completion of discovery within existing limits—i.e., allow a few
                    6   fact depositions to occur in early October.
                    7       I.      BACKGROUND
                    8            At and immediately after the November 9, 2023 hearing on Meta’s Motion to Dismiss, the
                    9   Court made clear that discovery was open on the only claim now remaining in this case. Dkt. 85
                   10   (11/9/23 Tr. at 49:3-50:2.); Dkt. 43 (minute entry). On January 24, 2024, the court set the case
                   11   schedule—including a September 30, 2024 date for the close of merits fact discovery, Dkt. 87—
                   12   following the parties’ joint submission proposing that schedule, Dkt. 84, which, at the Court’s
                   13   direction, “culminates in a MSJ hearing in January/February 2025,” Dkt. 74 (1/12/24 minute order).
                   14   The Court deliberately condensed earlier schedules proposed by the parties, see Dkt. 71, observing
                   15   that the parties’ proposals were “too elongated” if—as the Court ordered—the case proceeded first
                   16   with merits discovery culminating in summary judgment. Dkt. 85 (1/12/24 Tr. at 7).2
                   17            Throughout this case, Meta has timely met its discovery obligations in good faith, whereas
                   18   Plaintiffs have repeatedly failed to meet deadlines. For example, pursuant to the parties’ ESI Order,
                   19   the parties were to identify “the 10 custodians most likely to possess relevant information” by May
                   20   10, 2024. Dkt. 101 at ¶ 6.a. Meta identified its ESI custodians by that date, including senior-level
                   21   personnel most likely to have documents and information responsive to Plaintiffs’ discovery.
                   22   (Stameshkin Decl., Exs. B, C.) 3 In contrast, Plaintiffs did not identify their custodians until June
                   23   1
                          Plaintiffs’ proposed discovery expansion has repeatedly shifted, underscoring Plaintiffs’ lack of
                   24   any actual need or plan. Plaintiffs first proposed on August 23, 2024 an expansion to 140 deposition
                        hours per side; then proposed 120 hours per side on September 5, 2024; and today proposed 180
                   25   hours per side or 35 depositions per side, exclusive of Rule 30(b)(6) or third-party depositions.
                        (Stameshkin Decl. ¶ 25, Ex. A.) Yesterday Judge Hixson ordered Plaintiffs to seek any expansion
                   26   by Thursday, September 18.
                        2
                          Among other things, the bifurcation of merits and class discovery is a material difference between
                   27
                        this case and the OpenAI matter cited in Plaintiffs’ motion.
                        3
                   28     These disclosures included two French witnesses, both of whom were also included in Meta’s
COOLEY LLP
                        December 2023 Initial Disclosures. (Stameshkin Decl. ¶ 3.)
ATTORNEYS AT LAW
                                                                                               META’S OPP. TO MOT. TO EXTEND
                                                                          2                                 3:23-CV-03417-VC
                            Case 3:23-cv-03417-VC Document 137 Filed 09/10/24 Page 4 of 7



                    1   3, 2024—24 days late. (Id., Ex. D.) Similarly, the parties agreed to an April 1 deadline to begin
                    2   document production, and a July 15, 2024 “substantial completion” production deadline,4 and Meta
                    3   met these deadlines, producing 85% of its total production by July 15. In contrast, only one Plaintiff
                    4   produced any documents on April 1, and Plaintiffs waited until after July 15 to produce over half
                    5   of the approximately 1,223 total documents collectively produced by Plaintiffs to date. (Id., ¶ 11.)
                    6   Likewise, after Plaintiffs’ demand for a date for Meta to serve its privilege log, Meta proposed
                    7   August 30 for mutual exchange. (Id. ¶ 12, Ex. F.) Meta served its compliant privilege log on this
                    8   date, but only two Plaintiffs have served logs. (Id. ¶ 14.)
                    9          With respect to depositions, Plaintiffs have refused to cooperate with Meta’s efforts to
                   10   complete the ten fact depositions allotted per side by September 30. Instead, Plaintiffs have
                   11   unreasonably delayed providing dates for their own depositions and identifying the Meta witnesses
                   12   they seek to depose. (Stameshkin Decl. ¶¶ 25, 26, Ex. A.) Meta notified Plaintiffs of six depositions
                   13   it sought to take on August 23, and the remaining four on August 28; Meta has accepted the dates
                   14   offered by Plaintiffs for in-person depositions within the discovery period, but is still waiting for
                   15   such dates for over half of the ten deponents. (Id., ¶¶ 15, 28, Exs. I, J, M.)5 In contrast, Plaintiffs
                   16   have identified only three depositions they plan to take (with Meta accepting dates for both of the
                   17   two Meta witnesses, id., Ex. K), apparently delaying such identification to support their claimed
                   18   need for more time. (Id., Exs. G, H.) Nor have Plaintiffs served a Rule 30(b)(6) notice, despite
                   19   Meta’s request that Plaintiffs do so and despite that fewer than three weeks remaining in discovery
                   20   (with Meta witnesses set to testify next week). (Id., Ex. A.) Nor have Plaintiffs commenced any
                   21   effort to obtain foreign depositions, despite now claiming that they intend to seek several foreign
                   22   depositions.
                   23          Finally, Meta has promptly addressed deficiencies alleged by Plaintiffs during fact
                   24   discovery.     For example, on August 22, 2024, Plaintiffs served a letter claiming various
                   25   deficiencies, but by the time the parties met and conferred six days later, Meta had addressed each
                   26
                        4
                   27     The parties jointly agreed to extend this deadline by 15 days. (Stameshkin Decl. Ex. E.)
                        5
                          Judge Hixson advised Plaintiffs this week that in-person depositions are the default and thus
                   28   Plaintiffs should be offering such availability, with the parties to bring any disputes regarding
COOLEY LLP
                        requests for remote depositions to him.
ATTORNEYS AT LAW
                                                                                               META’S OPP. TO MOT. TO EXTEND
                                                                          3                                 3:23-CV-03417-VC
                            Case 3:23-cv-03417-VC Document 137 Filed 09/10/24 Page 5 of 7


                        issue, many of which simply required clarification. (Stameshkin Decl. ¶ 21.) Likewise, Meta has
                    1
                        investigated and responded to Plaintiffs’ discrete questions about Meta’s privilege log. (Id. ¶ 22.)
                    2
                            II.      ARGUMENT
                    3
                                  Modification of a scheduling order requires “good cause.” Fed. R. Civ. P. 16(b)(4); see
                    4
                        Civ. L.R. 37-3.6 Instead of identifying this standard or satisfying it, Plaintiffs’ Motion focuses on
                    5
                        other matters, such as the “complex” nature of this case; potential foreign depositions; and Meta’s
                    6
                        purported deficiencies. Dkt. 129 at 2. These are the wrong inquiries. To show good cause,
                    7
                        Plaintiffs must show that they have been diligent. See, e.g., Noyes v. Kelly Servs., 488 F.3d 1163,
                    8
                        1174 n.6 (9th Cir. 2007) (citing Johnson v. Mammoth Recreations, 975 F.2d 604, 609 (9th Cir.
                    9
                        1992) ( if the moving party “was not diligent, the inquiry should end”)); Casillas v. Bayer Corp.,
                   10
                        2024 WL 3440449, at *2 (N.D. Cal. July 16, 2024) (denying motion to extend schedule due to
                   11
                        movant’s failure to address its own diligence). Vague references to complexities—particularly
                   12
                        where, as here, there are no allegedly new complexities—do not suffice. See, e.g., Godo Kaisha Ip
                   13
                        Bridge v. Omnivision Techs., No. 17-cv-00778-BLF, 2018 U.S. Dist. LEXIS 201744 (N.D. Cal.
                   14
                        Nov. 27, 2018) (plaintiffs’ delay in seeking additional discovery was unreasonable “[w]ithout some
                   15
                        explanation for that delay or indication of factors outside Plaintiff’s control”). Plaintiffs also cannot
                   16
                        establish “good cause” by pointing fingers at Meta, because if Plaintiffs had such complaints, “the
                   17
                        proper recourse … [wa]s to file discovery motions or otherwise take prompt actions regarding the
                   18
                        specific delinquencies complained of, rather than requesting an extension on the eve of the end of
                   19
                        the discovery period.” Rodriguez v. Google LLC, 2022 WL 17905108, at *1 (N.D. Cal. Dec. 22,
                   20
                        2022) (denying request to modify schedule).
                   21
                                  As detailed above, Plaintiffs have failed to conduct discovery with diligence. See supra
                   22
                        Section I. Despite discovery having been open for ten months, Plaintiffs have taken no depositions,
                   23
                        have noticed only three depositions, have failed to pursue foreign depositions despite Meta’s
                   24
                        disclosure of French individuals months ago, and have spent their time pursuing extraneous matters.
                   25
                        See supra Section I. Additionally, Plaintiffs’ discovery responses remain lacking in multiple
                   26

                   27   6
                          The Local Rule invoked by Plaintiffs also requires a declaration stating “with particularity” the
                   28   reasons for the requested enlargement and “the substantial harm or prejudice that would occur”
COOLEY LLP
                        without it. Civ. L.R. 6-3(a)(1)-(6). Plaintiffs’ declaration does not meet these requirements.
ATTORNEYS AT LAW
                                                                                                META’S OPP. TO MOT. TO EXTEND
                                                                           4                                 3:23-CV-03417-VC
                           Case 3:23-cv-03417-VC Document 137 Filed 09/10/24 Page 6 of 7



                    1   respects, with those issues being presented to Judge Hixson, see, e.g., Dkt. 136, and Plaintiffs have
                    2   repeatedly failed to cooperate in the scheduling of depositions. See supra Section I. This has led
                    3   to a situation where the parties must schedule and take all depositions in very short order—which
                    4   Meta is currently prepared to do. But this is not, as Plaintiffs claim, Meta “ramrod[ding] twenty
                    5   depositions into the remaining weeks of September,” Dkt. 129 at 5; it is the unfortunate
                    6   consequence of Plaintiffs’ refusal to proceed diligently.
                    7          Moreover, even if Meta’s conduct were relevant, Plaintiffs have seriously misrepresented
                    8   the record, which in fact makes clear that Meta has been diligent throughout. See supra Section I.
                    9   Among other things, Meta timely identified and disclosed its ESI custodians (Plaintiffs did not);
                   10   expended great effort to meet the initial and substantial document production deadlines (Plaintiffs
                   11   did not); and timely produced a privilege log (Plaintiffs did not). See id. Meta also promptly
                   12   responded to and addressed Plaintiffs’ questions raised during discovery. See id.
                   13          Plaintiffs’ distortions of the record should not be permitted to mask their actual, improper
                   14   objectives in seeking to extend the case schedule: (1) allowing them to remedy their lack of
                   15   diligence, and (2) permitting them to argue for a massive expansion of discovery—in particular, 35
                   16   depositions or 180 hours of deposition testimony (exclusive of Rule 30(b)(6) and third-party
                   17   depositions), and 13 new custodians. (Stameshkin Decl. ¶ 25, Ex. A.) Despite that the case
                   18   schedule has been in place since January (including the deposition limits) and that they have had
                   19   Meta’s custodians since May, Plaintiffs only began raising their shifting proposals for expanding
                   20   discovery in late August. Plaintiffs’ Motion also fails to forthrightly disclose the massive nature of
                   21   the discovery expansion they are seeking, as well as Meta’s opposition thereto, Dkt. 129 at 3-4, and
                   22   perhaps understandably so, as there is no basis whatsoever for their request. It is no secret that
                   23   many individuals at Meta work on large language models, and Plaintiffs’ curiosity without any
                   24   showing of need or diligence does not warrant expanded discovery or an extension of case deadlines
                   25   at the eleventh hour.
                   26          Plaintiffs have not taken their discovery obligations or the deadlines in this case seriously.
                   27   Because they have not shown good cause, the Motion should be denied.
                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                                              META’S OPP. TO MOT. TO EXTEND
                                                                          5                                3:23-CV-03417-VC
                          Case 3:23-cv-03417-VC Document 137 Filed 09/10/24 Page 7 of 7



                    1

                    2   Dated: September 10, 2024                   COOLEY LLP

                    3                                            By: /s/ Kathleen Hartnett
                    4                                               Bobby Ghajar
                                                                    Mark Weinstein
                    5                                               Kathleen Hartnett
                                                                    Judd Lauter
                    6                                               Liz Stameshkin
                                                                    Colette Ghazarian
                    7
                                                                    CLEARY GOTTLIEB STEEN &
                    8                                               HAMILTON LLP
                                                                    Angela L. Dunning
                    9                                               Attorneys for Defendant
                                                                    META PLATFORMS, INC.
                   10

                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                                 META’S OPP. TO MOT. TO EXTEND
                                                             6                                3:23-CV-03417-VC
